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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Action No.: 20-CR-152-PAB

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1.   JAYSON JEFFREY PENN,

 2.   MIKELL REEVE FRIES,

 3.   SCOTT JAMES BRADY,

 4.   ROGER BORN AUSTIN,

 5.   TIMOTHY R. MULRENIN,

 6.   WILLIAM VINCENT KANTOLA,

 7.   JIMMIE LEE LITTLE,

 8.   WILLIAM WADE LOVETTE,

 9.   GARY BRIAN ROBERTS,

 10. RICKIE PATTERSON BLAKE,

       Defendants.


                              SUPERSEDING INDICTMENT


       The Grand Jury charges that:

                                        COUNT 1

                              (Conspiracy to Restrain Trade)

       1.      Beginning at least as early as 2012 and continuing through at least early

 2019, the exact dates being unknown to the Grand Jury, in the State and District of
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 Colorado and elsewhere, JAYSON JEFFREY PENN, MIKELL REEVE FRIES, SCOTT

 JAMES BRADY, ROGER BORN AUSTIN, TIMOTHY R. MULRENIN, WILLIAM

 VINCENT KANTOLA, JIMMIE LEE LITTLE, WILLIAM WADE LOVETTE, GARY BRIAN

 ROBERTS, and RICKIE PATTERSON BLAKE (“Defendants”), together with co-

 conspirators known and unknown to the Grand Jury, entered into and engaged in a

 continuing combination and conspiracy to suppress and eliminate competition by rigging

 bids and fixing prices and other price-related terms for broiler chicken products sold in

 the United States. The combination and conspiracy engaged in by the Defendants and

 co-conspirators was a per se unlawful, and thus unreasonable, restraint of interstate

 trade and commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        2.     The charged combination and conspiracy consisted of a continuing

 agreement, understanding, and concert of action among the Defendants and co-

 conspirators, the substantial terms of which were to rig bids and to fix, maintain,

 stabilize, and raise prices and other price-related terms for broiler chicken products sold

 in the United States.

                                   I.   BACKGROUND

        3.     Broiler chickens are chickens raised to provide meat for human

 consumption. Several companies (“Suppliers”) produced broiler chicken products in the

 United States for sale either directly or indirectly such as through a distributor and a

 distribution center (“DC”) to restaurants, grocery retailers, and others. During the time

 period of the conspiracy alleged in this Indictment, those Suppliers included, but were

 not limited to, Supplier-1, Supplier-2, Supplier-3, Supplier-4, Supplier-5, Supplier-6,

 Supplier-7, Supplier-8, Supplier-9, and Supplier-10.



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          4.   Restaurants, grocery retailers, and others who purchased large volumes

 of broiler chicken products, generally received bids from or negotiated prices and other

 price-related terms, including discount levels, with Suppliers directly or, in the case of

 some fast-food restaurants, also known as quick-service restaurants (“QSRs”), having

 many independent franchisees, through a centralized buying cooperative.

          5.   Some purchasers of broiler chicken products used a “cost-plus” pricing

 model for 8-piece bone-in broiler chicken products (alternatively called “8-piece COB”

 for 8-piece chicken-on-the-bone) that varied month-to-month or period-to-period

 depending on the price of chicken feed and that also provided Suppliers with a per-

 pound margin and an adjustment that was effectively an additional per-pound margin. 8-

 piece COB consisted of two breasts, two wings, two thighs, and two drumsticks.

          6.   The price of 8-piece COB often served as a base price for other broiler

 chicken products. Dark meat was often priced at a certain number of cents per pound

 less than, or “back” from, the price per pound of 8-piece COB. As a result, a smaller

 number of cents back translated into a higher price for dark meat compared to a greater

 number of cents back. For example, “30 back” was a higher price for dark meat than “31

 back.”

          7.   Prices for broiler chicken products were sometimes tied to a market index,

 such as the Urner-Barry Index (“UB”), as an alternative. For example, cases of wings

 sold in bulk were sometimes priced at the UB per-pound price (“market”) and cases of

 pre-counted wings were sometimes priced at the UB per-pound price plus a specified

 number of cents per pound (“market plus”).




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        8.     Bidding and negotiations usually occurred annually toward the end of the

 calendar year and established prices and other price-related terms, including discount

 levels, for the following calendar year. In some instances, however, bidding and

 negotiation toward the end of the calendar year established prices and other price-

 related terms, including discount levels, for multiple calendar years. In yet other

 instances, bidding and negotiations occurred throughout the year and sometimes

 established prices and other price-related terms, including promotional discounts, for

 discrete periods of time.

        9.     Bidding and negotiations often involved weekly volume commitments

 between Suppliers and their respective customers. If, in a given week, a Supplier could

 not meet its volume commitment to a customer, the Supplier could often buy broiler

 chicken products from another Supplier to cover the shortfall. Alternatively, the Supplier

 could “short” the customer by not fulfilling its volume commitment that week.

        10.    Some purchasers of broiler chicken products also purchased boneless

 broiler chicken products from Suppliers, including boneless and skinless chicken breast

 butterflies with rib meat. Often, such products were packaged using a controlled

 vacuum packaging process known as “CVP”.

        11.    Distributors and customers who purchased broiler chicken products from

 Suppliers often had lines of credit with the Suppliers. Often a negotiable aspect of a line

 of credit was the term, i.e., the number of days for a distributor/customer to pay a

 Supplier for broiler chicken products purchased using a line of credit. A line-of-credit

 term was related to price. A longer term was generally more favorable to the

 distributor/customer, whereas a shorter term was generally more favorable to the



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 Supplier.

                            II.   DEFENDANTS AND OTHERS

       12.    PENN was an executive vice president at Supplier-1—located in Greeley,

 Colorado—starting in approximately January 2012. PENN became the President and

 Chief Executive Officer of Supplier-1 in approximately March 2019.

       13.    AUSTIN was a vice president at Supplier-1 starting in approximately

 February 2007. AUSTIN was supervised by PENN.

       14.    FRIES was a sales manager at Supplier-2—which was headquartered in

 the State of Georgia—starting in approximately 2004. In approximately 2012, FRIES

 was appointed to Supplier-2’s board of directors. In approximately 2016, FRIES became

 the President of Supplier-2.

       15.    BRADY was a vice president at Supplier-1 starting in approximately 1999,

 and a vice president at Supplier-2 starting in approximately August 2012. BRADY was

 supervised by FRIES.

       16.    MULRENIN was a sales executive at Supplier-3—which was

 headquartered in the State of Arkansas—starting in approximately 2000, and a sales

 executive at Supplier-8—which was headquartered in the State of Maryland—starting in

 approximately July 2018.

       17.    KANTOLA was a sales executive at Supplier-5—which was

 headquartered in the State of Illinois—starting in approximately October 2010.

       18.    LITTLE was a sales director at Supplier-1. LITTLE started with the

 company in approximately 2000.




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       19.    LOVETTE was Supplier-1’s President and Chief Executive Officer starting

 in approximately January 2011 until approximately March 2019. LOVETTE supervised

 PENN.

       20.    ROBERTS was a manager and director at Supplier-3 starting in

 approximately 2012, and an employee of Supplier-4—which was headquartered in the

 State of North Carolina—starting in approximately 2016. ROBERTS supervised

 MULRENIN.

       21.    BLAKE was a director and manager at Supplier-6, which was

 headquartered in the State of Arkansas.

       22.    Supplier-1-Employee-2 was a director and manager at Supplier-1 from

 approximately September 2012 until approximately May 2015, and a vice president at

 Supplier-1 from approximately March 2015 until approximately May 2016.

       23.    Supplier-1-Employee-3 was a director and manager at Supplier-1 starting

 in approximately March 2010.

       24.    Supplier-1-Employee-4 was a sales manager at Supplier-1 starting in

 approximately September 2012.

       25.    Supplier-1-Employee-6 was a sales manager and director at Supplier-1

 starting in approximately 2006.

       26.    Supplier-1-Employee-7 was a regional sales manager at Supplier-1

 starting in approximately 2013.

       27.    Supplier-3-Employee-1 was an employee of Supplier-3 starting in

 approximately January 1988.




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       28.    Supplier-3-Employee-2 was a manager and director at Supplier-3 starting

 in approximately 2009.

       29.    Supplier-4-Employee-1 was an employee of Supplier-4.

       30.    Supplier-5-Employee-1 was an owner of Supplier-5 and supervised

 KANTOLA.

       31.    Supplier-6-Employee-2 was an employee of Supplier-6.

       32.    Supplier-7-Employee-1, Supplier-7-Employee-2, Supplier-7-Employee-3,

 and Supplier-7-Employee-4 were employees of Supplier-7, which was headquartered in

 the State of Georgia.

       33.    Supplier-8-Employee-1 and Supplier-8-Employee-2 were employees of

 Supplier-8, which was headquartered in the State of Maryland.

       34.    Supplier-9 was a Supplier purchased by Supplier-7 in 2014.

       35.    Supplier-10 was a Supplier headquartered in the State of Mississippi.

       36.    QSR-1 was a nationwide restaurant franchise that negotiated with

 Suppliers through a centralized buying cooperative, Cooperative-1. Cooperative-1-

 Employee-1 was an employee of Cooperative-1 from approximately June 2008 until

 approximately May 2014. Cooperative-1-Employee-2 was an employee of Cooperative-

 1 from approximately August 2004 until approximately February 2017. Cooperative-1-

 Employee-3 was an employee of Cooperative-1 from approximately May 2014 until

 approximately December 2014. Cooperative-1-Employee-4 was an employee of

 Cooperative-1 in 2014.




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         37.   QSR-2 was a nationwide restaurant franchise that negotiated with

 Suppliers through a centralized buying cooperative, Cooperative-2. Cooperative-2-

 Employee-1 was an employee of Cooperative-2 starting in approximately July 2008.

         38.   QSR-3 was a nationwide restaurant franchise that negotiated directly with

 Suppliers. QSR-3-Employee-1 was an employee of QSR-3 starting in approximately

 September 2001.

         39.   QSR-4 was a nationwide restaurant franchise that negotiated directly with

 Suppliers. QSR-4-Employee-1 was an employee of QSR-4 starting in approximately

 2011.

         40.   QSR-5 was a nationwide restaurant franchise that negotiated directly with

 Suppliers.

         41.   Grocer-1 was a nationwide grocery-store chain operating under various

 brand names in various geographical areas that negotiated directly with Suppliers.

 Grocer-1-Brand-1 was a grocery-store brand owned by Grocer-1. Grocer-1-Brand-1

 operated multiple stores in the State and District of Colorado.

         42.   Grocer-2 was a nationwide grocery-store chain.

         43.   Brand-1 purchased boneless broiler chicken products from Suppliers that

 were sold in branded packaging in grocery-store chains, including Grocer-2.

         44.   Distributor-1 was a nationwide food distributor.

         45.   Others not made Defendants in this Indictment participated as co-

 conspirators in the offense charged herein and performed acts and made statements in

 furtherance of the conspiracy.




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        46.    Whenever in this Indictment reference is made to any act, deed, or

 transaction of any corporation, the allegation means that the corporation engaged in the

 act, deed, or transaction by or through its officers, directors, agents, employees, or

 other representatives while they were actively engaged in the management, direction,

 control, or transaction of its business or affairs.

                 III.   MEANS AND METHODS OF THE CONSPIRACY

        47.    It was part of the conspiracy that PENN, FRIES, BRADY, AUSTIN,

 MULRENIN, KANTOLA, LITTLE, LOVETTE, ROBERTS, and BLAKE, together with

 their co-conspirators known and unknown to the Grand Jury, in the State and District of

 Colorado and elsewhere, participated in a continuing network of Suppliers and co-

 conspirators, an understood purpose of which was to suppress and eliminate

 competition through rigging bids and fixing prices and price-related terms for broiler

 chicken products sold in the United States.

        48.    It was further part of the conspiracy that PENN, FRIES, BRADY, AUSTIN,

 MULRENIN, KANTOLA, LITTLE, LOVETTE, ROBERTS, and BLAKE, together with

 their co-conspirators, in the State and District of Colorado and elsewhere, utilized that

 continuing network:

               a.       to reach agreements and understandings to submit aligned—

 though not necessarily identical—bids and to offer aligned—though not necessarily

 identical—prices, and price-related terms, including discount levels, for broiler chicken

 products sold in the United States;




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                b.    to participate in conversations and communications relating to non-

 public information such as bids, prices, and price-related terms, including discount

 levels, for broiler chicken products sold in the United States, with the shared

 understanding that the purpose of the conversations and communications was to rig

 bids, and to fix, maintain, stabilize, and raise prices and other price-related terms,

 including discount levels, for broiler chicken products sold in the United States; and

                c.    to monitor bids submitted by, and prices and price-related terms,

 including discount levels, offered by Suppliers and co-conspirators for broiler chicken

 products sold in the United States.

         49.    It was further part of the conspiracy that PENN, FRIES, BRADY, AUSTIN,

 MULRENIN, KANTOLA, LITTLE, LOVETTE, ROBERTS, and BLAKE, together with

 their co-conspirators, in the State and District of Colorado and elsewhere, discussed

 protecting, and thereafter acted to protect, the purpose and effectiveness of the

 conspiracy.

         50.    It was further part of the conspiracy that PENN, FRIES, BRADY, AUSTIN,

 MULRENIN, KANTOLA, LITTLE, LOVETTE, ROBERTS, and BLAKE, together with

 their co-conspirators, in the State and District of Colorado and elsewhere, sold and

 accepted payment for broiler chicken products that are the subject of the allegations in

 this Indictment in the United States through until at least approximately early 2019.

               QSR-1’s Dark Meat, Wings, and 8-Piece COB Supply for 2013

         51.    In approximately the autumn of 2012, Cooperative-1 was negotiating

 prices with Suppliers for dark meat, wings, and 8-piece COB supply for calendar year

 2013.



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          52.    It was further part of the conspiracy that in or around October 10, 2012:

                 a.     AUSTIN submitted Supplier-1’s bid to Cooperative-1 to supply

 QSR-1 with dark meat for calendar year 2013 at .30 back from the 8-piece price.

                 b.     Supplier-6-Employee-2 submitted Supplier-6’s bid to Cooperative-1

 to supply QSR-1 with dark meat for calendar year 2013 at .28 back from the 8-piece

 price.

          53.    It was further part of the conspiracy that in or around October 2012,

 BRADY submitted Supplier-2’s bid to Cooperative-1 to supply QSR-1 with dark meat for

 calendar year 2013 at .30 back.

          54.    On or about October 26, 2012, Cooperative-1-Employee-1 told AUSTIN

 that because some Suppliers had bid dark meat at .30 back and other Suppliers had bid

 dark meat at .32 back, Cooperative-1-Employee-1 planned to ask all Suppliers to

 change their bids to .31 back.

          55.    On November 8, 2012, Supplier-6-Employee-2 created an electronic

 image of meeting notes that included the following notation: “Dark  were @ 30 went to

 28 – [Cooperative-1-Employee-1] wants  .31”.

          56.    It was further part of the conspiracy that on November 13, 2012, the

 following communications occurred:

          Approx.
            Time       Initiator      Recipient                Communication
           (EST)
     4:17 p.m.        BLAKE        BRADY                 Phone Call: Approx. 5 min.

                                                     Text Msg: “[Supplier-6] is .30 back
     4:22 p.m.        BRADY        FRIES
                                                     on dark meat.”

     4:23 p.m.        AUSTIN       BRADY                Phone Call: Approx. 13 min.


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      Approx.
        Time           Initiator      Recipient               Communication
       (EST)
                                                    Text Msg: “[Supplier-1] is .30 back
     4:34 p.m.      BRADY          FRIES
                                                    and [Supplier-3] is 31 back.”

                                                    Text Msg: “Ol [Cooperative-1-
     4:36 p.m.      FRIES          BRADY
                                                    Employee-1]! He bluffing hard!”

                                                    Text Msg: “I talked to roger
     4:37 p.m.      BRADY          FRIES            [AUSTIN] and this month he is .03
                                                    higher than us on 8 piece.”

     4:43 p.m.      FRIES          BRADY            Text Msg: “Hmmm”

                                                    Text Msg: “He [AUSTIN] said to
     4:45 p.m.      BRADY          FRIES            raise our prices, on wings he is
                                                    market and market plus .10”

     4:45 p.m.      FRIES          BRADY            Text Msg: “Tell him we are trying!”

                                                    Email: Bid submission with dark
                                                    meat at .30 back and bulk wings
                                                    and pre-counted wings at “UB Mkt
     4:58 p.m.      AUSTIN         Cooperative-1
                                                    previous month average” and “UB
                                                    Mkt previous month average +
                                                    .10.”

     5:00 p.m.      BRADY          FRIES            Text Msg: “Will do”

       57.       It was further part of the conspiracy that on November 14, 2012, the

 following communication occurred:

      Approx.
        Time           Initiator      Recipient               Communication
       (EST)
                                                    Email: Bid submission with dark
                                                    meat at .30 back and “[o]n the
                                                    wings we would like to be at
     10:15 a.m.     BRADY          Cooperative-1
                                                    market for the bulk packed and
                                                    market plus .10 on the
                                                    precounted.”




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       58.       It was further part of the conspiracy that on or about November 28, 2012,

 the following communications occurred:

      Approx.
        Time           Initiator      Recipient               Communication
       (EST)
                                                    Email: “We . . . had the semi final
                                                    round call yesterday with
                                                    [Cooperative-1-Employee-1] and
                                                    his team . . . . I am going to try and
                                                    have a one on one with
     10:07 a.m.     AUSTIN         PENN
                                                    [Cooperative-1-Employee-1] today
                                                    but he has these calls all day. I will
                                                    also be having some other
                                                    discussions today to get the
                                                    pulse.”

     10:35 a.m.     BLAKE          AUSTIN           Phone Call: Approx. 8 min.

     1:29 p.m.      AUSTIN         BRADY            Phone Call: Approx. 15 min.

     1:44 p.m.      AUSTIN         KANTOLA          Phone Call: Approx. 11 min.

                                                    Email: “What will we giving up in
                                                    dollars on 8 piece and dark YoY if
                                                    we do lower the pricing to your
     5:09 p.m.      PENN           AUSTIN
                                                    recommended number? Can you
                                                    do a spreadsheet similar to last
                                                    year?”

                                                    Email: “I don't have computer with
                                                    me but for 1 cent decrease it is 1.5
     9:59 p.m.      AUSTIN         PENN             million on cob pounds. I will call
                                                    you tomorrow around lunch time
                                                    I have some better information.”

       59.       It was further part of the conspiracy that on or about November 29, 2012,

 the following communications occurred:

      Approx.
        Time           Initiator      Recipient               Communication
       (EST)
                                   Supplier-1-
     12:32 p.m      AUSTIN                          Phone Call: Approx. 7 min.
                                   Employee-4

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      Approx.
        Time           Initiator      Recipient               Communication
       (EST)
                                                    Email: “This is crude but does it
                                                    show what we need it to?” and
                                                    attaching a spreadsheet containing
                                                    the following table:
                    Supplier-1-
     2:31 p.m.                     AUSTIN               8 Piece Quotes
                    Employee-4
                                                          Good Guys        $0.9770
                                                          [Supplier-6]     $0.9632
                                                          [Supplier-2]     $0.9620
                                                          [Supplier-5]     $0.9561
                                                    Email: “You can put [Supplier-9] in
                                   Supplier-1-
     4:53 p.m.      AUSTIN                          at 96.60
                                   Employee-4
                                                    Then send to Jayson [PENN].”

                                                    Email: Attaching a spreadsheet
                                                    containing the following table:
                                                        8 Piece Quotes
                    Supplier-1-    PENN &                 Good Guys        $0.9770
     9:12 p.m.
                    Employee-4     AUSTIN                 [Supplier-9]     $0.9660
                                                          [Supplier-6]     $0.9632
                                                          [Supplier-2]     $0.9620
                                                          [Supplier-5]     $0.9561

       60.       It was further part of the conspiracy that on or about November 30, 2012,

 PENN emailed LOVETTE a spreadsheet containing the following chart:

                             8 Piece Quotes
                               Good Guys                $0.9770
                               [Supplier-9]             $0.9660
                               [Supplier-6]             $0.9632
                               [Supplier-2]             $0.9620
                               [Supplier-5]             $0.9561

       61.       It was further part of the conspiracy that on or about December 7, 2012,

 Supplier-6-Employee-2 signed an agreement on behalf of Supplier-6 that the price of 8-

 piece COB would be $.9622/lb. and the price of dark meat would be .30 back in

 calendar year 2013.

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         62.     It was further part of the conspiracy that on or about December 17 2012,

 PENN and Cooperative-1-Employee-1 signed an agreement that the price of 8-piece

 COB would be $.9703/lb. and the price of dark meat would be .30 back in calendar year

 2013.

         63.     It was further part of the conspiracy that on or about December 17, 2012,

 BRADY and Cooperative-1-Employee-1 signed an agreement that the price of 8-piece

 COB would be $.9625/lb. and the price of dark meat would be .305 back in calendar

 year 2013.

               QSR-1’s 2013 Request to Supply Reduced-Weight Product

         64.     On or about March 5, 2013, Cooperative-1-Employee-1 asked various

 Suppliers and co-conspirators to provide a quote to supply QSR-1 with a reduced-

 weight 8-piece COB product.

         65.     It was further part of the conspiracy that on or about March 8, 2013, the

 following communications occurred:

         Approx.
           Time        Initiator        Recipient              Communication
          (EST)
     2:45 p.m.       AUSTIN           BRADY          Phone Call: Approx. 1 min.

     2:48 p.m.       BRADY            AUSTIN         Phone Call: Approx. 8 min.

                                                     Text Msg: “I talked to roger
     3:44 p.m.       BRADY            FRIES          [AUSTIN] about the [QSR-1] sizes
                                                     and he is in agreement with us.”

                                   QSR-4’s 2013 Freezing Charge

         66.     In approximately 2013, QSR-4 began requiring its distributors to maintain

 inventories of frozen 8-piece COB and dark meat to satisfy demand in the event of a

 supply disruption.

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        67.    On or about May 31, 2013, QSR-4-Employee-1 emailed LITTLE: “In terms

 of pricing, traditionally [Supplier-1] has based the frozen dark meat price the same as

 the fresh dark meat. Will that still be the case? Also, what are you thinking in terms of

 price for the frozen 8pc?” On the same day, at approximately 2:14 p.m. (EDT), QSR-4-

 Employee-1 asked Supplier-3-Employee-1 for prices to supply QSR-4 with frozen 8-

 piece COB and dark meat: “In terms of pricing, what are you thinking on both items?”

        68.    It was further part of the conspiracy that on or about May 31, 2013:

               a.     The following phone calls occurred:

      Approx. Time (EDT)      Call Initiator Call Recipient    Approx. Duration (min.)
                              Supplier-3-
      2:20 p.m.                              KANTOLA                      1
                              Employee-1
                              Supplier-3-
      2:24 p.m.                              LITTLE                       2
                              Employee-1
                              Supplier-3-
      2:40 p.m.                              LITTLE                       8
                              Employee-1

               b.     At approximately 2:49 p.m. (EDT), LITTLE told QSR-4-Employee-1

 that “Their will need to be a freezing charge for both.”

               c.     At approximately 3:38 p.m. (EDT), Supplier-3-Employee-1

 forwarded QSR-4-Employee-1’s inquiry to MULRENIN and ROBERTS and said:

 “[Supplier-1] told me they would be around .025 to .03 on 8pc & dark meat and

 [Supplier-5] told me they were .025 on 8pc and at this time was not charging for dark

 but would probably change to .025 for next year.”

        69.    It was further part of the conspiracy that on or about June 3, 2013, in

 response to Supplier-3-Employee-1’s May 31 email, ROBERTS told MULRENIN and

 Supplier-3-Employee-1: “I want to discuss this before we submit. I want to understand

 what the storage expectation is.”


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       70.    It was further part of the conspiracy that on or about June 4, 2013,

 Supplier-3-Employee-1, copying MULRENIN, emailed QSR-4-Employee-1 with pricing

 for frozen 8-piece and dark meat at $0.03/lb. over the regular cost-plus pricing.

                           QSR-1’s Dark Meat Supply for 2014

       71.    In approximately autumn of 2013, Cooperative-1 was negotiating with

 Suppliers for dark meat supply for calendar year 2014.

       72.    It was further part of the conspiracy that in or about October 2013,

 AUSTIN submitted Supplier-1’s bid to Cooperative-1 to supply QSR-1 dark meat for

 calendar year 2014 at .30 back.

       73.    It was further part of the conspiracy that in or about October 2013, BRADY

 submitted Supplier-2’s bid to Cooperative-1 to supply QSR-1 with dark meat for

 calendar year 2014 at .305 back.

       74.    It was further part of the conspiracy that on or about November 19, 2013:

              a.     At approximately 1:27 p.m. (EST), BRADY called AUSTIN. The

 duration of the call was approximately 3 minutes.

              b.     At approximately 1:31 p.m. (EST), BRADY texted FRIES: “Just an

 FYI last year we were .32 back on dark meat and this year we are 3050 back.” FRIES

 responded, “K. Can do .31 if want.”

              c.     At approximately 1:31 p.m. (EST), BRADY texted FRIES: “Roger

 [AUSTIN] is at .30 back and not moving.” At approximately 1:33 p.m. (EST), FRIES

 responded, “Stay .305 then[.]”




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        75.    It was further part of the conspiracy that in or about December 2013,

 PENN and Cooperative-1-Employee-1 signed an agreement that the price for dark meat

 would be .305 back in calendar year 2014.

        76.    It was further part of the conspiracy that in or about December 2013,

 BRADY and Cooperative-1-Employee-1 signed an agreement that the price for dark

 meat would be .305 back in calendar year 2014.

                       QSR-4’s Quality Assurance Costs for 2014

        77.    In approximately 2013, QSR-4 implemented new quality assurance (“QA”)

 requirements to take effect the following year that required Suppliers to take additional

 measures to ensure the broiler chicken products met enhanced standards.

        78.    On or about December 20, 2013, an employee of QSR-4 sent QSR-4’s

 “new QA requirements for 2014” to an employee of Supplier-3. On or about December

 23, 2013, an employee of QSR-4 sent the requirements to KANTOLA.

        79.    It was further part of the conspiracy that on or about December 21, 2013:

               a.     The employee of Supplier-3 forwarded the requirements to

 Supplier-3-Employee-1, saying: “It would have been nice to have been forewarned.

 Wonder how the other suppliers will react?”

               b.     Supplier-3-Employee-1 responded, copying MULRENIN: “I would

 be surprised if they don’t say something. Might call a couple of them and ask[.]”

        80.    It was further part of the conspiracy that on or about December 23, 2013,

 at approximately 10:45 a.m. (EST), Supplier-3-Employee-1 called LITTLE. The duration

 of the call was approximately 5 minutes.




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        81.    It was further part of the conspiracy that on or about December 24, 2013:

               a.      At approximately 12:57 p.m. (EST), LITTLE called KANTOLA. The

 duration of the call was approximately 3 minutes.

               b.      At approximately 1:10 p.m. (EST), KANTOLA sent an email to

 another employee at Supplier-5 stating “here’s why [Supplier-3] is so popular with

 [QSR-4]” and listing FOB pricing for January for Supplier-3, Supplier-1, and Supplier-5.

               c.      At approximately 1:32 p.m. (EST), LITTLE sent an email to

 Supplier-1-Employee-2 and another employee at Supplier-1 stating “FYI… I did find out

 [Supplier-3’s] fob price is $0.025 lower than ours in 2014!”

        82.    It was further part of the conspiracy that on or about December 26, 2013,

 Supplier-3-Employee-1 told MULRENIN and ROBERTS: “Talked to Jimmy Little

 [LITTLE] and he said they were planning on adding to their cost to do this. They also

 didn’t like it just showing up also.”

        83.    It was further part of the conspiracy that on or about January 26, 2014,

 Supplier-3-Employee-1 sent Supplier-3’s February 2014 pricing to QSR-4 and included

 a quality assurance audit cost of $0.0009/lb.

           QSR-5’s 2014 Conversion to Antibiotic-Free Broiler Chicken Meat

        84.    On or about February 11, 2014, QSR-5 announced plans to serve

 antibiotic-free (“ABF”) broiler chicken meat at all of its restaurants within the following

 five years.




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       85.    It was further part of the conspiracy that on or about April 1, 2014:

              a.     The following phone calls occurred:

      Approx. Time (EDT)     Call Initiator Call Recipient    Approx. Duration (min.)
                             Supplier-1-
      9:14 a.m.                             BRADY                        6
                             Employee-6
                             Supplier-1-
      9:39 a.m.                             BRADY                        2
                             Employee-6
                                            Supplier-8-
      9:51 a.m.              BRADY                                       21
                                            Employee-1
                                            Supplier-1-
      10:18 a.m.             BRADY                                       12
                                            Employee-6
                                            Supplier-8-
      10:51 a.m.             BRADY                                       21
                                            Employee-1

              b.     At approximately 11:33 a.m. (EDT), Supplier-8-Employee-1 emailed

 Supplier-8-Employee-2: “I also found out that [Supplier-1] is going to upcharge approx.

 $.3124/lb on the ABF product. [Supplier-2] will be around the same cost.” Supplier-8-

 Employee-2 responded: “Great info.”

       86.    It was further part of the conspiracy that on or about April 18, 2014:

              a.     At approximately 9:38 a.m. (EDT), MULRENIN called BRADY. The

 duration of the call was approximately 12 minutes.

              b.     The following text messages were sent:

      Approx. Time (EDT)     Sender    Recipient                 Content
                                                   “I talked to Tim [MULRENIN]
                                                   today at [Supplier-3] and for ABF
                                                   they are at .02 per lb live weight.
      12:02 p.m.             BRADY     FRIES       He said they are supposed to
                                                   give a number to [QSR-5] today.
                                                   I told him we were .31 to .32 per
                                                   lb on finished product.”
                                                   “Did he say what there finished
      1:37 p.m.              FRIES     BRADY
                                                   increase would be?”
                                                   “Work in progress. I told him
      1:40 p.m.              BRADY     FRIES       what we were doing, [Supplier-8]
                                                   and [Supplier-1].”


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                          QSR-1’s 8-Piece COB Supply for 2015

       87.      Beginning approximately in the summer of 2014, Cooperative-1 was

 negotiating with Suppliers for 8-piece COB prices to take effect in approximately 2015.

 One of the price terms negotiated was each Supplier’s increased margin for 8-piece

 COB above their respective margins for calendar year 2014.

       88.      The Suppliers’ prices for 8-piece COB sold directly or indirectly to QSR-1

 franchisees in calendar year 2014 included the following margins:

                               Supplier       CY 2014 Margin
                             Supplier-1         $.1175/lb.
                             Supplier-2         $.0673/lb.
                             Supplier-3         $.0750/lb.
                             Supplier-4         $.1100/lb.
                             Supplier-5         $.0900/lb.
                             Supplier-6         $.0967/lb.
                             Supplier-7         $.0900/lb.

       89.      There were multiple rounds of negotiations between Cooperative-1 and

 Suppliers.

       Round One of Negotiations

       90.      On or about August 2014, Cooperative-1-Employee-3 instructed Suppliers

 to submit a proposed cost-plus pricing model by on or about August 19, 2014.

       91.      It was further part of the conspiracy that on or about August 11, 2014, the

 following communications occurred:

      Approx.
        Time           Initiator       Recipient              Communication
       (EDT)
    3:52 p.m.      ROBERTS           BRADY           Phone Call: Approx. 20 min.

                                                  Email: Supplier-3’s proposed
                                     Cooperative-
    5:22 p.m.      ROBERTS                        cost-plus pricing model sent to
                                     1-Employee-4
                                                  Cooperative-1-Employee-4


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      Approx.
        Time            Initiator        Recipient                 Communication
       (EDT)
                     Cooperative-                         Email: “You trying to get me fired
    6:13 p.m.                         ROBERTS
                     1-Employee-4                         before I even move here??”

       92.      It was further part of the conspiracy that on or about August 14, 2014,

 MULRENIN promised to call Cooperative-1-Employee-4 about Supplier-3’s recently

 submitted cost model on August 15, 2014.

       93.      It was further part of the conspiracy that on or about August 15, 2014, the

 following phone calls occurred:

      Approx. Time (EDT)        Call Initiator   Call Recipient    Approx. Duration (min.)
      11:34 a.m.                MULRENIN         ROBERTS                    0.5
      11:35 a.m.                ROBERTS          BRADY                       4
      11:42 a.m.                ROBERTS          MULRENIN                    9
      3:27 p.m.                 ROBERTS          MULRENIN                   22
      3:50 p.m.                 ROBERTS          PENN                       0.5
      3:52 p.m.                 PENN             ROBERTS                    16
      4:11 p.m.                 MULRENIN         ROBERTS                     2

       94.      It was further part of the conspiracy that on or about August 18, 2014:

                a.     The following phone calls occurred:

      Approx. Time (EDT)        Call Initiator   Call Recipient    Approx. Duration (min.)
      9:41 a.m.                 LITTLE           KANTOLA                     7
      10:34 a.m.                LITTLE           AUSTIN                      6
      12:04 p.m.                AUSTIN           BRADY                      24
      1:25 p.m.                 LITTLE           AUSTIN                     11
      1:52 p.m.                 AUSTIN           Supplier-6                  2
      2:03 p.m.                 PENN             AUSTIN                      6
                                                 Supplier-3-
      2:41 p.m.                 LITTLE                                        11
                                                 Employee-1
                                Supplier-1-
      2:58 p.m.                                  BRADY                        14
                                Employee-6
      3:21 p.m.                 AUSTIN           LITTLE                       17
                                Supplier-1-
      5:56 p.m.                                  AUSTIN                       2
                                Employee-2



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              b.      At approximately 6:01 p.m. (EDT), Supplier-1-Employee-2 emailed

 a spreadsheet to PENN containing the following chart:

                                                   Current M New Marg
                           [Supplier-5]              0.09       0.22
                           [Supplier-4]              0.11       0.22
                           [Supplier-2]             0.0675      0.22
                           [Supplier-6]                      .15-.18 inc
                           [Supplier-7]               0.1       0.23

              c.      At approximately 6:46 p.m. (EDT), Supplier-1-Employee-2 emailed

 PENN:

                   i. Supplier-1-Employee-2 said: “Roger [AUSTIN] did some checking

                      around today and I included the below regarding the range of the

                      total increases (margin and costs) folks are going in with,” and then

                      reported the numbers to PENN: Supplier-2 at .14-.16/lb., Supplier-4

                      at .13-.15/lb., Supplier-5 at .14-.16/lb., Supplier-6 at .15-.17/lb., and

                      Supplier-7 at .14-.16/lb.

                   ii. Supplier-1-Employee-2 also said: “Considering the numbers above

                      and the fact that we wanted to be the leader this would put us in at

                      .1616/lb increase (.06 in cost and .10 in margin) which would

                      equate to about $400k in additional revenue on equal volume from

                      this year.”

              d.      PENN responded to Supplier-1-Employee-2’s email saying “Will

 review with Bill [LOVETTE] in am. Will advise.” and asking “2.5 M lbs X. 16 =$400k per

 week is the math?”




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       95.      It was further part of the conspiracy that on or about August 19, 2014:

                a.      At approximately 11:55 a.m. (EDT), KANTOLA submitted Supplier-

 5’s proposed cost-plus pricing model to Cooperative-1.

                b.      The following phone calls occurred:

      Approx. Time (EDT)        Call Initiator   Call Recipient   Approx. Duration (min.)
      2:18 p.m.                 AUSTIN           BRADY                      4
      2:33 p.m.                 BRADY            KANTOLA                   0.2
      2:34 p.m.                 BRADY            KANTOLA                   0.5
      3:22 p.m.                 KANTOLA          BRADY                     20

                c.      At approximately 4:48 p.m. (EDT), BRADY submitted Supplier-2’s

 proposed cost-plus pricing model to Cooperative-1.

       96.      It was further part of the conspiracy that by on or about August 20, 2014,

 Suppliers submitted proposed cost-plus pricing models to Cooperative-1 with the

 following proposed margins and effective margins:

                       Supplier      CY 2014 Margin        Proposed Margin
                      Supplier-1       $.1175/lb.              $.2175/lb.
                      Supplier-2       $.0673/lb.              $.2200/lb.
                      Supplier-3       $.0750/lb.              $.1600/lb.
                      Supplier-4       $.1100/lb.                  --
                      Supplier-5       $.0900/lb.              $.2200/lb.
                      Supplier-6       $.0967/lb.          $.2070-$.2174/lb.
                      Supplier-7       $.0900/lb.              $.2300/lb.

       97.      It was further part of the conspiracy that on or about August 20, 2014, the

 following email exchange occurred:

             Email Initiator   Email Recipient                    Content
         Supplier-1-                                  “Any word from them on our
                               AUSTIN
         Employee-2                                   proposal?”

                               Supplier-1-            “I heard they made a couple of
         AUSTIN
                               Employee-2             calls and were surprised.”

         Supplier-1-           AUSTIN                 “Surprised like how much higher


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          Email Initiator     Email Recipient                   Content
         Employee-2                                 everyone else was?”

                             Supplier-1-
         AUSTIN                                     “Yes”
                             Employee-2

       Round Two of Negotiations

       98.      It was further part of the conspiracy that on or about August 22, 2014,

 ROBERTS emailed Supplier-3’s proposed cost-plus pricing model to Cooperative-1-

 Employee-4 with a margin of $.1900/lb. Cooperative-1-Employee-4 responded to

 ROBERTS’ email saying “Looks like to me you want about 15.5 cents increase in costs

 and margin?”

       99.      It was further part of the conspiracy that on or about August 26, 2014:

                a.    At approximately 9:31 a.m. (EDT), AUSTIN emailed PENN and

 explained that Cooperative-1-Employee-2 had asked Supplier-1 to reduce its proposed

 price increase by approximately one half. AUSTIN also said he planned to call

 Cooperative-1 to hold firm on the increase. PENN responded that he agreed with

 AUSTIN’s plan.

                b.    The following phone calls occurred:

     Approx. Time (EDT)       Call Initiator    Call Recipient Approx. Duration (min.)
     1:31 p.m.               Cooperative-1      AUSTIN                  17
     1:48 p.m.               AUSTIN             PENN                     2
     1:58 p.m.               LOVETTE            AUSTIN                  15
     2:52 p.m.               AUSTIN             BRADY                   14

                c.    At approximately 5:11 p.m. (EDT), BRADY texted FRIES: “I talked

 to roger [AUSTIN] about [QSR-1] and Greeley, [Colorado] told him not to come down on

 price. He called [Cooperative-1-Employee-3] today and told him.” At approximately 5:31

 p.m. (EDT), FRIES responded: “Wow!”


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         100.   It was further part of the conspiracy that on August 27, 2014, the following

 communications occurred:

            Approx.
                          Initiator     Recipient            Communication
          Time (EDT)
                                      Supplier-7-
          9:46 a.m.      FRIES                          Phone Call: Approx. 2 min.
                                      Employee-2
          10:02 a.m.     BRADY        KANTOLA           Phone Call: Approx. 15 min.

                                                      Text Msg: “[Supplier-5] is not
          10:33 a.m.     BRADY        FRIES
                                                      moving either”

                                                      Text Msg: “[Supplier-7-
                                                      Employee-2] is [meeting with
          10:34 a.m.     FRIES        BRADY           Cooperative-1] at 11. They
                                                      are agreeing to anything
                                                      today, just listening.”

         101.   It was further part of the conspiracy that on or about August 29, 2014, the

 following phone calls occurred:

     Approx. Time (EDT)        Call Initiator    Call Recipient Approx. Duration (min.)
     9:50 a.m.                Supplier-7         PENN                    19
                                                 Supplier-7-
     10:38 a.m.               FRIES                                      19
                                                 Employee-1

         102.   It was further part of the conspiracy that on a piece of paper with a

 handwritten notation “8-29-14” Supplier-7-Employee-1 wrote:

                a.     “Talked to [Supplier-4-Employee-1]. They are up .19 & holding.”

                b.     “[Supplier-3] 1.0976 per [Supplier-7-Employee-4]”

                c.     “Talked to Jason Penn [PENN] +8 cost +11 margin”

                d.     “[Supplier-2] 1.1099 up 18.35”

         103.   On or about August 29, 2014, Cooperative-1-Employee-3 sent an email to

 Suppliers requesting final pricing by on or about September 2, 2014, or September 3,

 2014.

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        104.   On or about September 3, 2014, Cooperative-1-Employee-2 sent

 ROBERTS a telephonic-meeting invitation for later that day at 1:30 p.m. (EDT). The

 invitation’s subject line was “COB [Supplier-3]” and included an “Agenda” with 5 items:

               a.     “[Supplier-3] wants a ridiculous price for COB”

               b.     “[Cooperative-1] says NO”

               c.     “[Cooperative-1] shamefully tells [Supplier-3] that we have bought

 poultry at ridiculous price from others”

               d.     “[Supplier-3] informs [Cooperative-1] – Really, YOU ARE

 SCREWED”

               e.     “GO from there.”

        105.   It was further part of the conspiracy that on or about September 3, 2014:

               a.     The following phone calls occurred:

      Approx. Time (EDT)       Call Initiator    Call Recipient   Approx. Duration
                                                                       (min.)
                                                 Cooperative-
     9:38 a.m.               BRADY                                       2
                                                 1-Employee-3
     9:41 a.m.               BRADY               KANTOLA                 1
     9:42 a.m.               BRADY               AUSTIN                  16
     10:00 a.m.              BRADY               KANTOLA                 1
     10:02 a.m.              KANTOLA             BRADY                   11
     10:17 a.m.              BRADY               FRIES                   1
     10:22 a.m.              FRIES               BRADY                   7
                                                 Cooperative-
     11:10 a.m.              BRADY                                       2
                                                 1-Employee-3
     11:24 a.m.              Cooperative-1       BRADY                   5
     11:37 a.m.              BRADY               MULRENIN                1
     11:45 a.m.              BRADY               MULRENIN                2
     1:15 p.m.               BRADY               MULRENIN                17
     1:31 p.m.               BRADY               AUSTIN                  19
     2:01 p.m.               BLAKE               AUSTIN                  8
     2:03 p.m.               BRADY               KANTOLA                 7
     2:10 p.m.               BRADY               FRIES                   20
                                                 Cooperative-
     3:39 p.m.               BRADY                                       15
                                                 1-Employee-3

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     Approx. Time (EDT)         Call Initiator     Call Recipient     Approx. Duration
                                                                           (min.)
     4:24 p.m.                 AUSTIN              BRADY                     8
     4:54 p.m.                 BRADY               KANTOLA                   4

               b.        At approximately 5:15 p.m. (EDT), BRADY texted FRIES: “Told

 [Cooperative-1-Employee-3] we would go down .02 he said someone moved down .04 it

 has to be [Supplier-6] or he is bluffing. Roger [AUSTIN] and bill [KANTOLA] are not

 moving.”

       106.    It was further part of the conspiracy that by on or about December 24,

 2014, Suppliers had signed cost-plus pricing agreements for calendar year 2015 with

 Cooperative-1 with the following margins and effective margins:

             Supplier      CY 2014 Margin        Proposed Margin     CY 2015 Margin
            Supplier-1       $.1175/lb.              $.2175/lb.        $.2175/lb.
            Supplier-2       $.0673/lb.              $.2200/lb.        $.1940/lb.
            Supplier-3       $.0750/lb.              $.1600/lb.        $.1931/lb.
            Supplier-4       $.1100/lb.                  --            $.2161/lb.
            Supplier-5       $.0900/lb.              $.2200/lb.        $.2200/lb.
            Supplier-6       $.0967/lb.          $.2070-$.2174/lb.     $.1798/lb.
            Supplier-7       $.0900/lb.              $.2300/lb.        $.2300/lb.

       107.    It was further part of the conspiracy that in calendar year 2015, including

 as late as approximately December 26, 2015, Supplier-1 sold and accepted payment for

 8-piece COB through a distributor to QSR-1 franchisees in the United States at a

 margin of $.2175.

                             QSR-3’s 8-Piece COB Supply for 2015

       108.    In approximately the autumn of 2014, QSR-3 was negotiating with

 Suppliers for its 2015 8-piece COB pricing.

       109.    It was further part of the conspiracy that on or about October 17, 2014, the

 following text message exchange occurred between PENN and Supplier-1-Employee-3:


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   PENN                              “Who is negotiating with [QSR-3]?”
   Supplier-1-Employee-3             “[Supplier-1-Employee-4] and Roger [AUSTIN]”
   PENN                              “Ok. Thanks”
   Supplier-1-Employee-3             “We know [Supplier-7], their biggest supplier is
                                     0.02 higher than us and they are not going to
                                     negotiate.”
   PENN                              “Good deal. Last time they did cave a cent or
                                     two with [QSR-1]”
   Supplier-1-Employee-3             “They are listening to my direction”
   PENN                              “Who is they?”
   PENN                              “If they is illegal don’t tell me”
   Supplier-1-Employee-3             “Was referring to roger [AUSTIN] listening.
                                     Sorry, thought you were referring to roger
                                     [AUSTIN] caving. Got you on [Supplier-7] caving
                                     on [QSR-1]. [Supplier-7] might cave but I
                                     wouldn’t think for our volume and their current.”
   PENN                              “[Supplier-3] does the west. Hearing rumors out
                                     of them?”
   Supplier-1-Employee-3             “Buyer said we were .07 high so that must be
                                     [Supplier-3’s] price…”
   PENN                              “They are morons”
   Supplier-1-Employee-3             “.07 back is in line with where we have priced
                                     everybody else but they did not add anything for
                                     the cost of doing business with [QSR-3] like us
                                     and [Supplier-7] did”
   PENN                              “[Supplier-7] is a solid competitor.”

       110.   It was further part of the conspiracy that on or about November 7, 2014,

 Supplier-1-Employee-3 told PENN: “[QSR-3] just called back...came up on price. Would

 net somewhere around 1.00 and we went in at 1.04/1.08.”

       111.   It was further part of the conspiracy that on or about November 9, 2014,

 PENN told LOVETTE: “I raised [QSR-3] 15c per lb” and “[QSR-3-Employee-1] and his

 crew will pay market price plus the special A-Hole Premium.”

       112.   It was further part of the conspiracy that on or about November 10, 2014

 at approximately 10:49 a.m. (EST), Supplier-1-Employee-3 emailed Supplier-1-

 Employee-4 and AUSTIN: “I do not really want to get into a pricing war with [Supplier-7]



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 over those two DCs.”

                           Brand-1’s Boneless Supply for 2015

        113.   Toward the end of 2014, Brand-1 was negotiating with Suppliers for

 Brand-1’s supply of boneless and skinless chicken breast butterflies with rib meat for

 calendar year 2015.

        114.   It was further part of the conspiracy that on or before approximately

 November 12, 2014, Supplier-1-Employee-7 met with negotiators employed by Brand-1

 to discuss pricing for the RFP.

        115.   It was further part of the conspiracy that on or about November 12, 2014,

 Supplier-1-Employee-7 emailed LOVETTE a “Recap” of the meeting and also wrote the

 following under the heading “Additional Notes Direct from [Supplier-10]”:

               a.      “Flat pricing target is 1.45 and only being offered out of 1 plant;

 their worst one which is [a Supplier-10 plant in Mississippi]”

               b.      “Flat pricing is only being offered to Industrial Accounts”

               c.      “No Floor and Ceilings are being offered this year”

               d.      “Looking to flat price a total of 30 loads per week”

               e.      “Texas plant will be used for West Coast industrial and distributor

 business”

               f.      “CVP [Controlled Vacuum Sealing] business is being quoted at UB-

 .18 to UB-.20”

        116.   It was further part of the conspiracy that LOVETTE responded: “Thanks

 [Supplier-1-Employee-7].”




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              Protecting the Purpose and Effectiveness of the Conspiracy

       117.    It was further part of the conspiracy that on or about November 24, 2014,

 after Supplier-3 asked to purchase broiler chicken products from Supplier-1 to cover a

 shortfall to Grocer-1-Brand-1 for approximately $.05/lb. more than the price Supplier-1

 had negotiated with Grocer-1, PENN said in a series of emails to one or more co-

 conspirators employed by Supplier-1:

               a.    “[Supplier-3] should pay for being short. It costs money for them to

 fill orders for which they don’t have the chickens. They have been adding market share

 and still trying to do – selling cheap chicken and being short. Doesn’t make sense. We

 are enabling the town drunk by giving him beer for Thanksgiving instead of walking him

 into an AA meeting.”

               b.    “[Supplier-3] is not shorting [Grocer-2]. Note [Supplier-3] just added

 market share and distribution to [Grocer-2]. They took our business on price. Should we

 allow [Supplier-3] to not pay for poor decision making?”

               c.    “They need to pay so they start acting appropriately. How do they

 pay? Their customers need to feel the pain. By not feeling the pain – [Supplier-3] keeps

 marching along and the customers to blindly with them.”

               d.    PENN forwarded his emails to LOVETTE and said: “Thoughts on

 deli strategy to [Grocer-1-Brand-1]? We are covering [Supplier-3] shortages. Continue

 and let [Grocer-1-Brand-1] know we are helping or start have [Supplier-3] feel the pain

 across their system so they can start making decisions commensurate with a profitable

 venture and not a philanthropic organization?”




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                e.      LOVETTE responded: “No question in my mind. [Supplier-3] should

 have to live with the decision they made. We made ours and are dealing with it. Why

 should it be any different for them? We SHOULD NOT HELP THEM ONE MICRON.”

                f.      PENN responded: “I agree. We are just allowing our competitor to

 continue their idiotic ways.”

         118.   It was further part of the conspiracy that on or about November 26, 2014,

 PENN said in a series of emails to one or more co-conspirators employed by Supplier-1:

                a.      “Our competition is offering lower margins on this item. Our

 competition is also currently shorting [QSR-2], [Grocer-1], and [another customer]. All of

 which we have been asked to cover this week in very slow markets. So in essence they

 are cheap and to add insult to injury are short product.”

                b.      “They are calling us – three tines this week – to help them cover

 loads on small birds to their new customers – their new customers with whom they just

 increased distribution at cheap prices. So – for Thanksgiving should we give Otis a

 bottle of Crown (aka loads of chicken) or take him to AA (aka make him face the

 shortage music)?”

                c.      “We are straight up taking Otis to AA. No juice for Otis. Otis must

 face the music for his misguided actions. Selling cheap in a short market – no bailout for

 you.”

                d.      “In other words we are not covering the loads for which [Supplier-3]

 is asking for help.”




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        119.   It was further part of the conspiracy that on or about December 22, 2014,

 PENN told LOVETTE: “[Supplier-3] took this strategy of not worrying about what the

 competition is doing and it led to the unraveling on a competitive advantage. Have to

 keep our enemies close and ensure that we are not zigging when the competition is

 successfully zagging.”

                       QSR-2’s 2015 Bone-In Promotional Discount

        120.   It was QSR-2’s practice to periodically offer promotional pricing to its

 customers on certain broiler chicken products for limited periods of time, often for a

 particular month such as September.

        121.   On or about March 25, 2015, Cooperative-2-Employee-1 asked Suppliers

 if QSR-2 could get “some type of discount” for a promotion in approximately September

 2015 “[d]ue to the increases we incurred this year.”

        122.   It was further part of the conspiracy that on or about March 26, 2015:

               a.      The following phone calls occurred:

      Approx. Time (EDT)        Call Initiator    Call Recipient Approx. Duration (min.)
                               Supplier-3-
     1:41 p.m.                                    BRADY                     2
                               Employee-1
                               Supplier-3-
     1:43 p.m.                                    BLAKE                    0.5
                               Employee-1
                               Supplier-3-        Supplier-1-
     1:45 p.m.                                                             0.5
                               Employee-1         Employee-4

               b.      At approximately 8:22 p.m. (EDT), Supplier-3-Employee-1

 forwarded Cooperative-2-Employee-1’s email to Supplier-3-Employee-2, saying: “I have

 talked to a couple company’s and they are thinking .02lb for September” and “Only bad

 thing is everyone else does it, it will be hard not to do it.”




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        123.   It was further part of the conspiracy that on or about March 27, 2015:

               a.     At approximately 10:30 a.m. (EDT), Supplier-3-Employee-2 told

 Supplier-3-Employee-1: “We discussed this morning, and we agree to offer the $0.02/lb.

 for the month of September.”

               b.     At approximately 10:40 a.m. (EDT), Supplier-3-Employee-1 sent a

 text message to BRADY.

               c.     At approximately 10:42 a.m. (EDT), BLAKE called Supplier-3-

 Employee-1. The duration of the call was approximately 3 minutes and 15 seconds.

        124.   On or about March 27, 2015, Cooperative-2-Employee-1 told Supplier-1-

 Employee-6: “[Supplier-3], [Supplier-6], [Supplier-4] and [Supplier-2] all $.02[.] I’m

 waiting on you[,] [Supplier-5] and [Supplier-7].”

        125.   It was further part of the conspiracy that on or about March 31, 2015,

 Supplier-1-Employee-3 told PENN: “[QSR-2] is looking to get a $0.02/lb discount from

 all suppliers for a September promotion. [Supplier-3], [Supplier-5], [Supplier-4],

 [Supplier-7], [Supplier-6], and [Supplier-2] have already agreed to the discount.”

        126.   It was further part of the conspiracy that on or about April 1, 2015:

               a.     At approximately 12:22 p.m. (EDT), KANTOLA emailed

 Cooperative-2-Employee-1 and said Supplier-5 would give a $.02/lb. discount.

               b.     PENN approved providing QSR-2 with a $.02/lb. discount.

                            Distributor-1’s Line-of-Credit Term

        127.   In approximately 2016, Distributor-1 contacted Supplier-1 and Supplier-5

 individually to negotiate longer terms for their respective lines of credit.




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         128.   On or about May 1, 2016, the following email exchange occurred:

         Email Sender     Email Recipient                    Content
                                              “Have you herd that [Distributor-1] is
     Supplier-5-
                          LOVETTE               going to 65 day terms with their
     Employee-1
                                                          supplies?”

                          Supplier-5-
     LOVETTE                                         “Yes, we told them NO!”
                          Employee-1

     Supplier-5-                             “Ok. Then I am 100 percent on board. If
                          LOVETTE
     Employee-1                               that changes can you please tell me?”

                          Supplier-5-        “Will do, they must be following [Grocer-
     LOVETTE
                          Employee-1                    2]. Told them same.”

                                             “Somebody must have written this as an
     Supplier-5-                             MBA class project. We are getting there
                          LOVETTE
     Employee-1                             request from various customers including
                                                 people like [another customer]”

                        QSR-1’s Broiler Chicken Products for 2018

         129.   In or around January 2017, Cooperative-1 was negotiating with Suppliers

 for 2018 broiler chicken products.

         130.   It was further part of the conspiracy that on or about Monday, January 16,

 2017, between approximately 2:40 p.m. (EST) and approximately 4:51 p.m. (EST),

 there were at least 5 phone calls between BRADY and AUSTIN. The cumulative

 duration of the calls was approximately 15 minutes.

         131.   It was further part of the conspiracy that on or about Tuesday, January 17,

 2017:

                a.      At approximately 10:11 a.m. (EST), AUSTIN called BRADY. The

 duration of the call was approximately 2 minutes.

                b.      At approximately 5:54 p.m. (EST), AUSTIN told Supplier-1-

 Employee-4, “[Supplier-2] meets with [Cooperative-1] in Thursday and i will get a blow

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 by blow Friday morning. [Supplier-5] meets with [Cooperative-1] in Friday.”

        132.   It was further part of the conspiracy that on or about Wednesday, January

 18, 2017, at approximately 2:45 p.m. (EST), AUSTIN called BRADY. The duration of the

 call was approximately 1 minute.

        133.   It was further part of the conspiracy that on or about Thursday, January

 19, 2017, Supplier-2 met with Cooperative-1.

        134.   It was further part of the conspiracy that on or about Friday, January 20,

 2017, at approximately 3:12 p.m. (EST), AUSTIN called BRADY. The duration of the

 call was approximately 7 minutes.

        135.   It was further part of the conspiracy that on or about January 27, 2017,

 Supplier-1 met with Cooperative-1.

                    QSR-2’s 8-Piece COB Supply for 2018 and 2019

        136.   In approximately 2017, Cooperative-2 was negotiating 8-piece COB prices

 with Suppliers for calendar years 2018 and 2019, and sought to lower the 8-piece COB

 prices QSR-2 paid for calendar year 2017.

        137.   On or about August 16, 2017, Cooperative-2-Employee-1 sent an email

 blind copying various Suppliers—including at least Supplier-3, Supplier-6, and Supplier-

 7—to solicit bids for QSR-2’s 2018 8-piece COB. In the email, Cooperative-2-Employee-

 1 told Suppliers: “I am aware of what went on with Brand X and in fact the change took

 place during the current agreement year. I would also like you to keep that in mind while

 submitting your bid. Instead of a big cut next year I would entertain a two year price

 adjustment. Let me see what you can come up with.” Cooperative-2-Employee-1 asked

 for price proposals to be submitted by September 5, 2017.



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        138.   It was further part of the conspiracy that on or about August 16, 2017,

 Supplier-3-Employee-1 forwarded the solicitation to MULRENIN, asking “You get this?”

 MULRENIN responded: “Ouch. I did not. Definitely appears he’s under the impression

 we all dropped prices more than we did.”

        139.   It was further part of the conspiracy that on or about August 18, 2017,

 Supplier-3-Employee-1 told MULRENIN: “[Cooperative-2-Employee-1] heard as much

 as .05lb. I told them that was probably because they were so far out of line now with

 pricing they had to do something to get close. I think realistically he is thinking .02-.03.”

        140.   It was further part of the conspiracy that on or about August 22, 2017,

 MULRENIN said to Supplier-3-Employee-2: “He’s aware suppliers came down for

 [QSR-1] and expecting some movement from us.”

        141.   It was further part of the conspiracy that on or about September 5, 2017:

               a.     The following phone calls occurred:

      Approx. Time (EDT)       Call Initiator    Call Recipient Approx. Duration (min.)
                              Supplier-1-
     10:27 a.m.                                  BRADY                      11
                              Employee-6
                              Supplier-3-
     11:32 a.m.                                  BRADY                      10
                              Employee-1
                              Supplier-1-
     2:30 p.m.                                   BRADY                       4
                              Employee-6

               b.     An employee of Supplier-6 sent Cooperative-2-Employee-1 a

 proposal to reduce the 2018 8-piece COB by $.0075/lb. and the 2019 price of 8-piece

 COB by $.0150/lb.

               c.     Supplier-1-Employee-6 sent Cooperative-2-Employee-1 a proposal

 to reduce the 2018 price of 8-piece COB by $.01/lb. and the 2019 price of 8-piece COB

 by $.01/lb.


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                d.     BRADY sent Cooperative-2-Employee-1 a proposal to reduce the

 2018 price of 8-piece COB by $.01/lb.

       142.     It was further part of the conspiracy that on or about September 6, 2017,

 the following events occurred:

      Approx.
        Time            Initiator      Recipient             Communication
       (EDT)
                     Cooperative-2-   Supplier-3-
    9:07 a.m.                                       Email: “I did not receive your bid?”
                     Employee-1       Employee-1
                     Supplier-3-
    9:37 a.m.                         BLAKE            Phone Call: Approx. 10 min.
                     Employee-1
                     Supplier-3-
    9:48 a.m.                         MULRENIN          Phone Call: Approx. 0 min.
                     Employee-1
                     Supplier-3-
    9:48 a.m.                         MULRENIN      Text Msg: “U with your customers”
                     Employee-1
                                      Supplier-3-
    11:33 a.m.       MULRENIN                          Text Msg: “Yes. What's up?”
                                      Employee-1
                     Supplier-3-
    11:34 a.m.                        MULRENIN        Text Msg: “[QSR-3] proposal”
                     Employee-1
                     Supplier-3-                      Text Msg: “Got a general idea
    11:34 a.m.                        MULRENIN
                     Employee-1                        what [Supplier-6] is doing”
                                                  Text Msg: “Ok. Call [Supplier-3-
                                      Supplier-3-
    11:34 a.m.       MULRENIN                     Employee-2]. I will call you as soon
                                      Employee-1
                                                  as I can”
                                                      Text Msg: “Called [Supplier-3-
                                                     Employee-2] and told him what I
                     Supplier-3-                      heard [Supplier-6] was doing &
    11:44 a.m.                        MULRENIN
                     Employee-1                      also told him about [Supplier-7].
                                                     Said would get back with me this
                                                                 afternoon”
                                      Supplier-3-
    11:54 a.m.       MULRENIN                              Text Msg: “Thanks!”
                                      Employee-1
                     Cooperative-2-   Supplier-3-
    1:41 p.m.                                           Phone Call: Approx. 5 min.
                     Employee-1       Employee-1
                                                    Text Msg: “Just got some info from
                                                    [QSR-3]. Everyone seems to be
                                                    doing 2 years and spreading it out.
                     Supplier-3-
    1:49 p.m.                         MULRENIN      I was told everyone is coming in at
                     Employee-1
                                                    2 1/4-2 1/2 over 2 years. All other
                                                    billing weights are at least 1 1/2
                                                    less than us except for what I told

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       Approx.
         Time            Initiator       Recipient             Communication
        (EDT)
                                                      you [Supplier-7] was but they are
                                                      around .0165 less than us.”

        143.     It was further part of the conspiracy that on or about September 7, 2017,

 Supplier-3-Employee-1 sent Cooperative-2-Employee-1 an email, copying MULRENIN,

 with a proposal to reduce the 2018 price of 8-piece COB by $.01/lb. and the 2019 price

 of 8-piece COB by an additional $.01/lb.

                                 IV.   TRADE AND COMMERCE

        144.     During the period covered by this Indictment, the Defendants and their co-

 conspirators shipped substantial quantities of broiler chicken products by truck in a

 continuous and uninterrupted flow of interstate trade and commerce to companies

 located in states outside the place of origin of the shipments.

         145. During the period covered by this Indictment, the business activities of the

 Defendants and their co-conspirators in connection with the sale of broiler chicken

 products were within the flow of, and substantially affected, interstate trade and

 commerce.

        ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION 1.

                                            COUNT 2

                                        (False Statements)

         146. The Grand Jury incorporates and re-alleges Paragraphs 3-145 of Count 1

 as if fully set forth herein.

         147. On or about August 31, 2020, in Fort Worth, Texas, in the Northern District

 of Texas and elsewhere, LITTLE knowingly and willfully made false statements to



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 federal law enforcement agents. These false statements were material to a matter

 within the jurisdiction of the executive branch of the United States Government.

 Specifically, in connection with an investigation conducted in the District of Colorado

 and elsewhere by the United States Department of Commerce Office of Inspector

 General, the Federal Bureau of Investigation, and the United States Department of

 Agriculture Office of Inspector General, LITTLE was interviewed by special agents of

 the United States Department of Commerce and the Federal Bureau of Investigation.

        148.   During that interview, LITTLE stated words to the effect that:

               a.     he had no contact with individuals at competing Suppliers outside

 of speaking to the individuals at industry trade shows; and

               b.     he had not called–or sent text messages to–any individuals at

 competing Suppliers.

        149. The statements were false. As LITTLE then and there knew, he indeed

 had contact with individuals at competing Suppliers outside of trade shows, and had

 called and sent text messages to individuals at competing Suppliers.

          ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE, SECTION 1001.

                                             COUNT 3

                                      (Obstruction of Justice)

        150. The Grand Jury incorporates and re-alleges Paragraphs 3-145 of Count 1,

 and Paragraphs 146-149 of Count 2.

        151. On or about August 31, 2020, LITTLE corruptly obstructed, influenced,

 and impeded official proceedings, and corruptly attempted to obstruct, influence, and

 impede official proceedings, pending and about to be instituted in the District of



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 Colorado, to wit, the pending grand jury investigation of price fixing in the broiler chicken

 industry, the pending prosecution of four individuals for conspiring to fix prices in the

 broiler chicken industry, and the then-about-to-be-instituted prosecution of LITTLE for

 conspiring to fix prices in the broiler chicken industry. LITTLE was contacted by special

 agents of the United States Department of Commerce and the Federal Bureau of

 Investigation. At the time of the contact with the special agents, LITTLE was aware of

 the investigation, its ongoing nature, and that other employees of Supplier-1 had been

 charged by indictment. The special agents’ contact with LITTLE occurred prior to

 planned grand-jury testimony by one of those agents and the planned swearing of an

 affidavit to support a criminal complaint charging LITTLE for his role in a conspiracy in

 violation Section 1 of the Sherman Act. After contact by these special agents, but before

 the grand-jury testimony and affidavit swearing, LITTLE stated false or misleading

 information to the special agents.

    ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE, SECTION 1512(c)(2).




                                            A TRUE BILL:


                                            Ink signature on file in Clerk’s Office
                                            FOREPERSON




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